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Board's Status Report And Request For Extension And
Proposed Expert Discovery Schedule
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toconnor meyeroconnor.com                                                        12:01 PM (1
                                                                                   hour ago)
to me, Heidi, toconnor, Edward

Tim-

Attached please find defendant Board's draft status report, request for fact discovery
extension and proposed expert discovery schedule.

As plaintiff has done with her motion for discovery extension that was just filed, we will be
happy to note where plaintiff agrees or disagrees and will correct any mistakes plaintiff
points out.

Further, if plaintiff wants to join any section of this document entirely, we would be happy
to note that and inform the court that that section is jointly submitted.

We will be filing this late this afternoon and so will need to hear back by 4:00pm.

Thanks,

TPO

       Timothy P. O’Connor




       Suite 600
       1603 Orrington Avenue
       Evanston, Illinois 60201

       312-346-9000
...

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Timothy Coffey <tcoffey@worker- law.com>                                         12:49 PM (49
                                                                                 minutes ago)
to toconnor, Heidi, Edward

I suggest that we file a JSR as ordered. It can and should be short. We can each briefly
state our positions therein and disagreement on length of extension sought and then
reference our respective motions for extension. We can then end it with the short
agreed expert discovery report due date and your related remarks which are fine
generally.

I can draft or you can. LMK. Thanks.

Timothy J. Coffey
The Coffey Law Office, P.C.
118 N. Clinton Street, Ste. 125
Chicago, IL 60661

(312) 627-9700
(630) 326-6601 (fax)
(312) 493-3622 (cell)



toconnor meyeroconnor.com                                                         1:10 PM (28
                                                                                 minutes ago)
to me, Heidi, Edward, toconnor

Tim,

I respectfully disagree.

Plaintiff's unilateral filing of a motion to extend that makes allegations against the Board
and counsel and representations as to the conduct or failure to conduct depositions in
fact constitutes a status report to the Court drafted by plaintiff, not jointly, and with which
the Board profoundly disagrees.

The Board's request this weekend and this morning that the parties prepare a joint status
report was premised upon plaintiff dispensing with her own motion and the parties instead
making a joint submission as in the past.
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Plaintiff opted not to do that and instead filed what is essentially her own incomplete and,
respectfully, incorrect, status report.

If there has been a violation of the Court's Order, it is plaintiff that has done so.

And your statement now that we should file a joint submission that is short and does not
include the Board's report strikes us as an effort to prevent the Board from submitting a full
and accurate status to the court in the wake of plaintiff's having provided her own status.

Despite all this and plaintiff's proceeding with her own motion, we are still willing to make
any part of the submission we sent joint and to denote it as such – just let us know what
part of the filing plaintiff wants to join and we will denote that portion as joint.

Further, if there are errors in anything we have written in what we have sent you, please let
us know and we will gladly and promptly correct them.

If we do not hear back, we will add to our submission that we felt it was necessary to
proceed in this manner because plaintiff's motion constitutes her own status report, not a
joint status report, and we therefore must file our own status report and that we gave you
the chance to join any part of it.

Thanks,

TPO

      Timothy P. O’Connor




      Suite 600
      1603 Orrington Avenue
      Evanston, Illinois 60201

      312-346-9000

From: Timothy Coffey <tcoffey@worker-law.com>
Sent: Monday, June 17, 2024 2:49 PM
To: toconnor meyeroconnor.com <toconnor@meyeroconnor.com>
Cc: Heidi Sleper <hsleper@kselegal.com>; Edward Zaknoen <ezaknoen@gmail.com>
Subject: Re: Board's Status Report And Request For Extension And Proposed Expert Discovery Schedule
  Case: 1:18-cv-08477 Document #: 125-1 Filed: 06/17/24 Page 4 of 4 PageID #:687




Timothy Coffey <tcoffey@worker- law.com>                                         1:29 PM (9
                                                                               minutes ago)
to toconnor, Heidi, Edward

We did not file a status report, we filed a motion. Two diff things. We will proceed to file
a Plaintiff's status report and therein note that D refused to file a JSR.

Thanks.


Timothy J. Coffey
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